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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CHRISTINA GIRTEN, on behalf of her                )
minor child, S.G.,                                )
                                                  )
               Plaintiff,                         )
                                                  )           No. 21-cv-04230
       v.                                         )
                                                  )           Judge Andrea R. Wood
SUMMIT HILL SCHOOL DISTRICT 161,                  )
et al.,                                           )
                                                  )
               Defendants.                        )

                                              ORDER

        Plaintiff’s motion to voluntarily dismiss pursuant to Federal Rule of Civil Procedure
41(a)(2) [28] is granted. Having heard the arguments of the parties, the Court concludes that the
the dismissal shall be without prejudice. “Permitting a plaintiff to voluntarily dismiss an action
without prejudice, under Rule 41(a)(2) of the Federal Rules of Civil Procedure, is within the
sound discretion of the district court.” Tolle v. Carroll Touch, Inc., 23 F.3d 174, 177 (7th Cir.
1994). “The district court abuses its discretion only when it can be established that the defendant
will suffer ‘plain legal prejudice’ as the result of the district court’s dismissal of the plaintiff’s
action.” Kovalic v. DEC Int’l, Inc., 855 F.2d 471, 473 (7th Cir. 1988) (internal quotation marks
omitted). In determining whether a defendant suffers from plain legal prejudice from dismissal
without prejudice, the district court may consider the following factors: “the defendant’s effort
and expense of preparation for trial, excessive delay and lack of diligence on the part of the
plaintiff in prosecuting the action, insufficient explanation for the need to take a dismissal, and the
fact that a motion for summary judgment has been filed by the defendant.” Id. at 474 (internal
quotation marks omitted). Here, the case is at an early stage, no motion for summary judgment
has been filed, Plaintiff has been diligently prosecuting the action, and she has articulated an
adequate explanation for seeking dismissal. By contrast, while Defendant John Howard opposes
dismissal without prejudice, he has failed to demonstrate that he would suffer plain legal prejudice
from dismissal without prejudice. Further, the remaining Defendants have stated that they are
neutral as to the nature of the dismissal. Accordingly, this case is voluntarily dismissed without
prejudice. All other pending motions and hearing dates are stricken. Civil case terminated.




Dated: February 24, 2022                              __________________________
                                                      Andrea R. Wood
                                                      United States District Judge
